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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,
            Plaintiff,

               v.                                    Criminal Action No. 1:06CR9-1

JOSHUA GUIDOTTI,
           Defendant.


                       REPORT AND RECOMMENDATION/OPINION

       On the 12th day of May, 2006, came the United States of America and Thomas Johnston,

United States Attorney for the Northern District of West Virginia, by Zelda E. Wesley, Assistant

United States Attorney, and also came the Defendant in person and by his attorney, Justin Harrison,

for proceedings pursuant to Federal Rule of Criminal Procedure 11.

       Thereupon, the Court proceeded with the Rule 11 proceeding by asking Defendant’s counsel

what Defendant’s anticipated plea would be. Counsel responded that Defendant would enter a plea

of “Guilty” to Count Three of the Indictment. Counsel for the government advised the Court that

the agreement to plead guilty in this case had been reduced to a written plea agreement which the

Court had counsel for the Government summarize for the Court in the presence of Defendant.

Counsel for Defendant then stated that the summarization of the written plea agreement was correct.

       Thereupon, the Court placed Defendant under oath, and thereafter inquired of Defendant’s

counsel as to Defendant’s understanding of his right to have an Article III Judge hear his plea and

his willingness to waive that right, and instead have a Magistrate Judge hear his plea. Thereupon,

the Court inquired of Defendant concerning his understanding of his right to have an Article III

Judge hear the entry of his guilty plea and his understanding of the difference between an Article

III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he voluntarily
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waived his right to have an Article III Judge hear his plea and voluntarily consented to the

undersigned Magistrate Judge hearing his plea, and tendered to the Court a written Waiver of

Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and

consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred in

by the signature of the Assistant United States Attorney appearing.

       Upon consideration of the sworn testimony of Defendant, as well as the representations of

his counsel and the representations of the Government, the Court finds that the oral and written

waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

voluntarily given and the written waiver and consent was freely and voluntarily executed by

Defendant, Joshua Guidotti, only after having had his rights fully explained to him and having a full

understanding of those rights through consultation with his counsel, as well as through questioning

by the Court.

       The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

Magistrate Judge filed and made part of the record.

       The undersigned then inquired of Defendant regarding his understanding of the written plea

agreement. Defendant stated he understood the terms of the written plea agreement and also stated

that it contained the whole of his agreement with the Government and no promises or representations

were made to him by the Government other than those terms contained in the written plea

agreement.

       The undersigned then reviewed with Defendant Count Three of the Indictment, the statutory

penalties applicable to an individual adjudicated guilty of the felony charge contained in Count

Three of the Indictment, the impact of the sentencing guidelines on sentencing in general, and



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inquired of Defendant as to his competency to proceed with the plea hearing. From said review the

undersigned Magistrate Judge determined Defendant understood the nature of the charge pending

against him, and understood the possible maximum sentence which could be imposed upon his

conviction or adjudication of guilty on that charge was imprisonment for a tem of at least one (1)

year but not more than forty (40) years; understood the maximum fine that could be imposed was

$2,000,000.00; understood that both fine and imprisonment could be imposed; understood he would

be subject to a period of at least six (6) years of supervised release; and understood the Court would

impose a special assessment of $100.00 for the felony conviction payable on or before the date of

sentencing. He also understood he might be required by the Court to pay the costs of his

incarceration and supervised release.

       Defendant also understood that his actual sentence could not be calculated until after a pre-

sentence report was prepared and a sentencing hearing conducted.

       The undersigned Magistrate Judge further examined                Defendant relative to his

knowledgeable and voluntary execution of the written plea bargain agreement dated April 11, 2006,

and signed by him on April 28, 2006, and determined the entry into said written plea bargain

agreement was both knowledgeable and voluntary on the part of Defendant.

       The undersigned Magistrate Judge further inquired of Defendant, his counsel and the

Government as to the non-binding recommendations and stipulation contained in the written plea

bargain agreement and determined that Defendant understood, with respect to the plea bargain

agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Three

of the Indictment, the undersigned Magistrate Judge would write the subject Report and

Recommendation and tender the same to the District Judge, and the undersigned would further



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order a pre-sentence investigation report be prepared by the probation officer attending the District

Court, and only after the District Judge had an opportunity to review the subject Report and

Recommendation, as well as the pre-sentence investigation report, would the District Judge make

a determination as to whether to accept or reject Defendant’s plea of guilty or any recommendation

contained within the plea agreement or pre-sentence report.

       The undersigned Magistrate Judge further addressed the stipulation contained in the written

plea bargain agreement, which provides:

       Pursuant to Sections 6B1.4 and 1B1.3 of the Guidelines, the parties hereby stipulate,
       and agree that the total relevant conduct of the defendant is at least five, but less than
       10 grams of heroin.

The undersigned then inquired of Defendant, counsel for Defendant, and counsel for the United

States, and determined that the same understood that the Court is not bound by the above stipulation

and is not required to accept the above stipulation, and that should the Court not accept the above

stipulation, Defendant would not have the right to withdraw his plea of Guilty to Count Three of the

Indictment.

       The undersigned Magistrate Judge further advised Defendant, in accord with Federal Rule

of Criminal Procedure 11, in the event the District Court Judge rejected Defendant’s plea of guilty,

Defendant would be permitted to withdraw his plea and proceed to trial. However, Defendant was

further advised if the District Court Judge accepted his plea of guilty to the felony charge contained

in Count Three of the Indictment, Defendant would not be permitted to withdraw his guilty plea

even if the Judge refused to follow the non-binding recommendations and stipulation contained in

the written plea agreement and/or sentenced him to a sentence which was different from that which




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he expected. Defendant and his counsel each acknowledged their understanding and Defendant

maintained his desire to have his plea of guilty accepted.

          The undersigned Magistrate Judge further examined Defendant with regard to his

understanding of the impact of his conditional waiver of his direct and collateral appeal rights as

contained in the written plea agreement, and determined he understood those rights and voluntarily

gave them up under the conditions set as part of the written plea agreement.

          The undersigned Magistrate Judge further cautioned and examined Defendant under oath

concerning all matters mentioned in Rule 11.

          The undersigned then reviewed with Defendant Count Three of the Indictment, including the

elements the United States would have to prove at trial, charging him with aiding and abetting in the

distribution of heroin, in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C),

860, and Title 18, United States Code, Section 2.

          The Court then received the sworn testimony of Sgt. Joe Adams of the West Virginia State

Police Bureau of Criminal Investigation, and Defendant’s under-oath allocution to or statement of

why he believed he was guilty of the charge contained in Count Three of the Indictment.

          Sgt. Adams testified he was working in an undercover capacity and made a controlled

purchase of heroin from Defendant and his co-defendant Stephanie Fridley on December 29, 2004,

in exchange for $200.00. The controlled purchase took place in the Kroger parking lot on Patteson

Drive, in Morgantown, West Virginia, within the Northern District of West Virginia. That location

is within 1000 feet of the Suncrest Middle School, as confirmed by measurement with a laser gun.

The heroin was tested at the State Police Laboratory where it was determined to be 1.407 grams of

heroin.



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      The defendant then testified he believed he was guilty of the crime charged in Count Three

of the Indictment because he was with Stephanie Fridley and sold heroin to an undercover officer

in the Kroger parking lot on Patteson Drive in Morgantown.

       From the testimony of Sgt. Adams , the undersigned Magistrate Judge concludes the offense

charged in Count Three of the Indictment is supported by an independent basis in fact concerning

each of the essential elements of such offense. This conclusion is supported by Defendant’s

allocution and the parties’ stipulation contained in the written plea agreement.

       Thereupon, Defendant, Joshua Guidotti, with the consent of his counsel, Justin Harrison,

proceeded to enter a verbal plea of GUILTY to the felony charge contained in Count Three of the

Indictment.

       Upon consideration of all of the above, the undersigned Magistrate Judge finds that

Defendant’s guilty plea is knowledgeable and voluntary as to the charge contained in Count Three

of the Indictment.

       The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to the

felony charge contained Count Three of the Indictment herein be accepted conditioned upon the

Court’s receipt and review of this Report and Recommendation and a Pre-Sentence Investigation

Report, and that the Defendant be adjudged guilty on said charge as contained in Count Three of the

Indictment and have sentence imposed accordingly.

       The undersigned further directs that a pre-sentence investigation report be prepared by the

adult probation officer assigned to this case.

       Any party may, within ten (10) days after being served with a copy of this Report and

Recommendation, file with the Clerk of the Court written objections identifying the portions of the



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Report and Recommendation to which objection is made, and the basis for such objection. A copy

of such objections should also be submitted to the Honorable Irene M. Keeley, Chief United States

District Judge. Failure to timely file objections to the Report and Recommendation set forth above

will result in waiver of the right to appeal from a judgment of this Court based upon such report and

recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

474 U.S. 140 (1985).

       Defendant is continued on release pursuant to the Order Setting Conditions of Release

entered in this matter.



       The Clerk of the Court is directed to send a copy of this Report and Recommendation to

counsel of record.



       Respectfully submitted this 19th day of May, 2006.

                                                      /s John S. Kaull
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




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